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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF GEORGIA
                                     AUGUSTA DIVISION


UNITED STATES OF AMERICA


               vs.                                   DOCKET NO. l:12CR00239-2


Wayne Derrell Coleman


                                             ORDER


       The United States Attorney for the Southern District of Georgia has now filed a motion

for reduction of sentence pursuant to Federal Rules of Criminal Procedure 35(b). Additionally,

on April 9, 2015, the defendant filed a pro se motion for the Court to consider a further reduction

of the sentence pursuant to Amendment 782. On March 25, 2014, the Court sentenced the

Defendant to a total term of 122 months custody of the Bureau of Prisons. The Court also

imposed a term of five (5) years supervised release, $5,000 fine, and a $100 special assessment.

       The Court finds that the Defendant is eligible for a sentence reduction pursuant to

Amendment 782. Accordingly, the defendant's motion for consideration of a sentence reduction

pursuant to Amendment 782 is GRANTED and the 122 month term is reduced to a term of 99

months.

       Upon receiving the Government's Rule 35(b) motion, the Court heard from both the

Government's attorney and defense counsel on the Defendant's substantial assistance. All

relevant issues and information were discussed, and the Court found no need for the Defendant

to be present for a hearing on the matter.

       After reviewing the motion and upon advice from the United States Probation Office, the

Government's motion for a reduction of the sentence of imprisonment is hereby GRANTED.
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       It is the judgment of this Court that the sentence of imprisonment imposed on March 25,

2014, and later reduced on this date to 99 months, is hereby further reduced to a total term of 74

months. All other terms shall remain in effect as originally imposed on March 25, 2014.

       SO ORDERED this          Jj^ day ofMay, 2015.


       J. Randal Hall
       United States District Judge
